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                               UNITED STATES DISTRICT COURT                                           JS-6
                              CENTRAL DISTRICT OF CALIFORNIA

                                   CIVIL MINUTES -- GENERAL

Case No.      EDCV 15-1895-JFW (SPx)                                         Date: February 24, 2016

Title:        Erwina A. Ong -v- Cal-Western Reconveyance Corp., et al.

PRESENT:
             HONORABLE JOHN F. WALTER, UNITED STATES DISTRICT JUDGE

              Shannon Reilly                                  None Present
              Courtroom Deputy                                Court Reporter


ATTORNEYS PRESENT FOR PLAINTIFFS:                    ATTORNEYS PRESENT FOR DEFENDANTS:
              None                                                      None

PROCEEDINGS (IN CHAMBERS):                DISMISSAL OF ACTION FOR LACK OF
                                          PROSECUTION


        Plaintiff filed a Complaint with the Court on September 16, 2015. On January 26, 2016,
Magistrate Judge Bristow issued an Order to Show Cause Re: Lack of Prosecution in light of
Plaintiff’s apparent failure to serve Defendants. Plaintiff was to respond to the Court’s Order to
Show Cause no later than February 19, 2016.

       As of the date of this Order, Plaintiff has not filed a proof of service or otherwise responded
to the Court’s Order to Show Cause. Accordingly, this action is hereby DISMISSED without
prejudice.


         IT IS SO ORDERED.




                                                                                 Initials of Deputy Clerk sr
